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                 IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                       :
Erica Parker                           :        Civil Action
                                       :
      v.                               :
                                       :        No. 17-1744
School District of Phila., et al.      :
                                       :

                                   ORDER


      AND NOW, this _________day of _________________, 2018, upon

consideration of The School District of Philadelphia’s Motion to Dismiss Plaintiff’s

SECOND AMENDED COMPLAINT and any response, it is ORDERED that

School District of Philadelphia’s motion is GRANTED, and the School District of

Philadelphia is dismissed from this matter with prejudice.




                                              BY THE COURT:




                                              ______________________________
                                                                            J.
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                 IN THE UNITED STATES DISTRICT COURT
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                                       :
 Erica Parker                          :            Civil Action
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      v.                               :
                                       :            No. 17-1744
 School District of Phila., et al.     :
                                       :

  DEFENDANT THE SCHOOL DISTRICT OF PHILADELPHIA’S MOTION
     TO DISMISS PLAINTIFF’S SECOND AMENDED COMPLAINT


      Defendant, The School District of Philadelphia, by and through undersigned

counsel, hereby moves for this Court to dismiss Plaintiff’s Second Amended Complaint

pursuant to Rule 12(b)(6) of the Federal Rules of Civil Procedure dismissing the

School District of Philadelphia with prejudice because further amendment is futile.


      WHEREFORE, Defendant, The School District of Philadelphia, requests this

Court to enter an Order dismissing it from Plaintiff’s Amended Complaint with

prejudice and deny leave to amend it further.


Dated:        June 26, 2018




[signature follows]




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                                   Respectfully submitted,


                                   /s/Colin S. Haviland
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                    IN THE UNITED STATES DISTRICT COURT
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                                          :
 Erica Parker                             :             Civil Action
                                          :
         v.                               :
                                          :             No. 17-1744
 School District of Phila., et al.        :
                                          :

    BRIEF IN SUPPORT OF DEFENDANT THE SCHOOL DISTRICT OF
         PHILADELPHIA’S MOTION TO DISMISS PLAINTIFF’S
                 SECOND AMENDED COMPLAINT

   I.         Introduction.

         The School District of Philadelphia (the District) moved for the dismissal of

plaintiff’s complaint and amended complaint under Rule 12(b)(6) of the Federal

Rules of Civil Procedure because Plaintiff failed to allege sufficient facts against the

District to state a claim under section 1983 and the District is not amenable to suit

for wrongful termination. Parker’s Second Amended Complaint also falls short of

stating a claim against the District; its allegations are nothing more than bald legal

conclusions without the facts necessary to support them.

   II.        Facts.

         The District accepts Plaintiff’s facts as alleged only for the purposes of this

motion. Plaintiff, Erica Parker (“Parker”) has worked as an independent contractor

for Staffing Plus Agency, (“Staffing Plus”) intermittently since 2002. Second

Amended Complaint, Doc. 33, ¶ 13. She is a resident of Philadelphia, Pennsylvania.

Id. ¶ 1. Staffing Plus assigned Parker to Intercommunity Action Inc. (Interact) in

2015. Id. ¶ 15. Interact then assigned Parker to work with the District as a Lead

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Clinician. Id. Parker acted as a Lead Clinician at the Edward T. Steel Elementary

School. Id. Interact has a satellite office in Steel Elementary. Id. ¶ 16.

      On October 6, 2016, Parker removed a student from a classroom because he

had been acting out. Id. ¶ 19. Parker asked the student “why he was lashing out

and not listening to teachers and staff at the school.” Id. ¶ 20. The student then

told Parker that a day earlier, on October 5, 2015, he told his guidance counselor

that he had engaged in sexual acts with his neighbor. Id. ¶ 21. The student also

told Parker that his brother was gay. The student told Parker that he did not want

to talk about his situation at home after she asked him whether his brother had had

any inappropriate contact with him.     Id. ¶ 22.

      Parker reported her interaction to the student’s guidance counselor. Id. ¶ 23.

The student’s guidance counselor told Parker that she had reported that

information to the student’s mother. Id. Parker also relayed the student’s story to

her supervisor at Interact, Sharron Stark, and to ChildLine, the Pennsylvania

Department of Human Services child abuse hotline. Id. ¶ 24. Stark also told

Parker to report the abuse to the principal of Steel Elementary, Jamal B. Dennis.

Id. ¶ 26. Parker told Dennis the student’s story on October 7, 2015. Id. ¶ 27.

      On October 16, 2015, Staffing Plus told plaintiff not to report to work. Id ¶

31. Parker believed that Interact reassigned her. Id. Parker continued to call work

in attempt to find a new placement through her recruiter. Id. ¶ 32. But, in January

2016, Staffing Plus mislead Parker by telling her that her recruiter no longer

worked for them. Id. ¶ 34. Her, recruiter, Allison Johnston, continued to work for



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Staffing Plus. Id. Ultimately, Staffing Plus told Parker that Interact had informed

them that the District no longer wanted to work with her because she called

ChildLine. Id. ¶ 34.

      Parker alleges the District colluded with her employers to terminate her

because she called Childline to report a suspected case of child abuse “her

statutorily-required duty. . . .” Id. ¶ 24. She further alleges, for the first time, that

the decision to terminate her was a conspiracy among the defendants. Id. ¶ 30.

Finally, she alleges, that the District had a “custom policy and/or practice” of

removing employees or contractors that report child abuse “and/or” employees or

contractors that report other employees or contractors for reporting colleagues who

failed to report child abuse. Id. ¶ 38.

   III.   Argument.

      Parker does not allege facts, under any reading of the second amended

complaint, sufficient to state a claim for relief against the District. Parker claims

that the District violated section 1983, but has not averred any facts necessary to

hold the District liable under Monell and the First Amendment does not protect

Parker’s speech, as it within the ordinary scope of her duties and was not speech on

a matter of public concern. The Court should dismiss Parker’s claims against them

with prejudice and deny any further leave to amend as futile. In re Burlington Coat

Factory Securities Litigation, 114 F.3d 1410, 1434 (3d Cir. 1997).




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      A. Legal Standard.

      The Federal Rules of Civil Procedure provide that a party may move to

dismiss a complaint for failure to state a claim upon which relief can be granted. A

Rule 12(b)(6) motion to dismiss tests the sufficiency of the allegations contained in

the complaint. Kost v. Kozakiewicz, 1 F.3d 176, 183 (3d Cir. 1993). A complaint

must plead “enough facts to state a claim to relief that is plausible on its face.” Bell

Atlantic v. Twombly, 550 U.S. 544, 555 (2007). “The plausibility standard is not

akin to a ‘probability requirement,’ but it asks for more than a sheer possibility that

a defendant has acted unlawfully.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)

(quoting Twombly, 550 U.S. at 556). “[Labels] and conclusions” are not enough, and

a court “is not bound to accept as true a legal conclusion couched as a factual

allegation.” Id. at 555. When deciding a motion to dismiss under F.R.C.P. 12(b)(6)

a court may consider public records such as administrative agency records and

decisions. Pension Ben. Guar. Corp. v. White Consol. Indus., Inc., 998 F.2d 1192,

1196 (3d Cir. 1993)

      B. Parker’s Proposed Amendments Are Futile.

      Parker’s Second Amended Complaint now alleges that the District

orchestrated her termination. Doc. 30 Ex. 1, ¶ 38. Assumed for the purposes of this

motion, the First Amendment affords government contractors the same protections

as government employees. O’Hare Truck Service, Inc. v. City of Northlake, 518 U.S.

712, 721 (1996); Board of County Com’rs, Wabaunsee County, Kan. v. Umbehr, 518

U.S. 668, 674, 679-670 (1996). Parker, as a government contractor, must satisfy


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three standards to state a claim of First Amendment retaliation. DeRitis v.

McGarrigle, 861 F.3d 444, 452 (3d Cir. 2017). Parker’s speech is protected if (1) she

spoke as a citizen and not an employee (2) her speech involved a matter of public

concern, and (3) the School District lacked an adequate justification for treating her

differently from the general public based on the balancing factors of Pickering v.

Board of Education, 391 U.S. 563 (1968). Id. The Court need not balance the

interests of the School District against those of Parker because she was speaking as

an employee and her speech did not involve a matter of public concern. Id.

          1. The First Amendment does not protect an employee’s
             statements made within the ordinary scope of her duties.

      The First Amendment does not protect a public employee’s speech, or in this

case a contractor’s speech, made pursuant to his or her official duties. DeRitis v.

McGarrigle, 861 F.3d 444, 453 (3d Cir. 2017)(citing Garcetti v. Ceballos, 547 U.S.

410. 421 (2006)). Employees speak pursuant to their official duties when “the

speech at issue is itself ordinarily within the scope of an employee’s duties.”

DeRitis, 861 F.3d at 453 (citing Land v. Franks, 134 S. Ct. 2369, 2379 (2014)).

Parker’s call to Childline and her report to Dennis were pursuant to her official

duties because those reports are ordinarily with the scope of her duties. The First

Amendment does not protect Parker’s reports to Childline or Dennis.

      Parker works at a school. Ex. 1, ¶ 15. She has close contact with children.

Ex. 1, ¶¶ 19-22. Parker is a mandated reporter because she works in a school and

has close contact with children. 23 Pa.C.S. §§ 6311(a)(1),(4),(8); Ex. 1. ¶¶ 23, 24.

The Child Protective Services Law requires (CPS) mandated reporter to report


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suspected child abuse. Id. The CPS requires her to both report suspected abuse to

Childline and inform Dennis. 23 Pa.C.S. § 6311(b)(c). Her speech fell squarely

within the scope of her duties; the Court should dismiss her claims of First

Amendment retaliation with prejudice.

          2. The First Amendment does not protect Parker’s report because
             it was not a matter of public concern.

      Parker’s call to Childline and her report to Dennis are not matters of public

concern. “The content of speech on a matter of public concern generally addresses a

social or political concern of the community.” Gorum v. Sessoms, 561 F.3d 179, 187

(3d Cir. 2009)(quoting Borden v. Sch. Dist. of the Twp. of East Brunswick, 523 F.3d

153, 169–70 (3d Cir.2008). The First Amendment does not protect a public

employee’s speech on matters of private concern. Id. The context of the report

illustrates the personal rather than public nature of the complaint. Connick v.

Myers, 461 U.S. 138, 147–48 (1983). Parker’s report concerned a “personal

grievance” that her duties required her to make. Gorum v. Sessoms, 561 F.3d 179,

187 (3d Cir. 2009); Borden v. Sch. Dist. of the Twp. of East Brunswick, 523 F.3d 153,

169–70 (3d Cir.2008). Beyond the report of abuse, Parker’s complaint concerned, at

most, a single lapse by a colleague in her reporting obligations, not “fundamental

problems reaching beyond [her] day to day minutiae.” Doc. 30, Ex. 1, ¶ 25; DeRitis

v. McGarrigle, 861 F.3d 444, 455 (3d Cir. 2017). Fatal to her claim, Parker never

sought a “public mein” for her complaints. Id. at 456 (quoting Swineford v. Snyder

Cty., 15 F.3d 1258, 1272 (3d Cir. 1994)).




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       Parker’s reports “lacked the requisite connection to broad social and political

issues, transparency in government affairs, or the effectiveness of government

service that is normally characteristic of an issue of public concern.” Burne v.

Siderowicz, 445 F. App'x 529, 532 (3d Cir. 2011) (citing Borden v. Sch. Dist. of Twp.

of E. Brunswick, 523 F.3d 153, 170 (3d Cir.2008)). The Court should dismiss her

claims for First Amendment Retaliation with prejudice.

          3. Parker asserts a claim under section 1983, but the facts she
             alleges are not sufficient to state that claim for relief.

       Parker’s proposed complaint is devoid of factual matter sufficient “to state a

claim to relief that is plausible on its face.” Iqbal, 556 U.S. at 678. Courts should

disregard “naked [factual] assertions” and “threadbare recitals” of the elements of a

claim and legal conclusions when evaluating the sufficiency of a complaint.

Santiago v. Warminster Tp., 629 F.3d 121 (3d Cir. 2010). Parker’s proposed

amendments should be disregarded as they are naked assertions, threadbare

recitals of the elements and legal conclusions.

       Parker’s key allegations are:

   -   Upon information and belief, Defendants, Dennis, Stark, Wacyk, and
       Johnstone agreed and conspired to terminate Plaintiff due to her statutorily-
       required report, specifically because Plaintiff reported all information,
       including the fact that Ms. Jackson failed to inform the appropriate
       authorities. Ex. 1, ¶ 30.

   -   Upon information and belief, the conduct of Defendants, School District of
       Philadelphia and Jamal B. Dennis, as Principle [sic] of Edward T. Steel
       Elementary School was part of a custom, policy and/or practice and these
       customs, policies and/or practices caused the violation of Plaintiff’s rights.
       Specifically, Defendants, School District of Philadelphia and Jamal B.
       Dennis, as Principle [sic] of Edward T. Steel Elementary School terminate
       contracted employees and/or independent contractors who report child abuse
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      to the appropriate authorities and/or terminate contracted employees and/or
      independent contractors who identify other employee(s) of the School District
      of Philadelphia who fail to report child abuse to the appropriate authorities
      without any legal justification due to, inter alia, a failure to train, supervise,
      and/or discipline the School District of Philadelphia employees and, most
      importantly, because of a deliberate indifference to the Constitutional rights
      of contracted employees and/or independent contractors. Ex. 1 ¶ 38.

      A local government body may be liable under section 1983 “if the

governmental body itself ‘subjects’ a person to a deprivation of rights or ‘causes’ a

person ‘to be subjected’ to such deprivation. Connick v. Thompson, 563 U.S. 51, 60

(2011) (citing Monell v. New York City Dept. of Social Servs., 436 U.S. 658, 692

(1978)). To state a cause of action against the District, Parker needs to allege

plausibly that some “official municipal policy” caused her injury. Parker has failed

to do so as she has alleged only bald statements and legal conclusions.

      Parker’s allegations are at most “threadbare recitals” of the elements of a

Monell claim. For instances, to establish Monell liability for failure to train, Parker

must establish the threshold element of “deliberate indifference.” Connick, 563 U.S.

at 61. So, Parker states, without elaboration, that the District terminated certain

contracted employees, “because of a deliberate indifference to the[ir] constitutional

rights…” Doc. 33 Ex. 1, ¶ 38. She fails to allege any facts that would support that

legal conclusion; facts describing “actual or constructive notice” or a “pattern of

similar constitutional violations by untrained employees. . . .” Connick, 563 U.S. at

61-62. Parker’s insufficient allegations fail to specify whether the alleged illegal

practice is the result of a custom or a policy or a practice. Doc. 30, Ex. 1 ¶ 38.




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         Parker’s complaint is insufficient to state a plausible cause of action under

section 1983. Her threadbare recitals of the claim’s elements and conclusory

statements are not adequate to allow this Court accept her claims as possible let

alone plausible. The Court should dismiss Parker’s claims against the District with

prejudice and deny leave to amend her complaint further.

   IV.      Conclusion.

   Parker’s proposed amendments are futile; they do not and cannot state a cause

of action against the District. Her First Amendment retaliation claims are futile

because her report was ordinarily within the scope of her duties and was not a

matter of public concern. A claim is futile when further amendment cannot cure its

defects. The District respectfully requests that the Court dismiss her second

amended complaint with prejudice and deny leave to amend further.



Dated:         June 26, 2018

                                          Respectfully Submitted:


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Erica Parker                          :             Civil Action
                                      :
      v.                              :
                                      :             No. 17-1744
School District of Phila., et al.     :
                                      :


                           CERTIFICATE OF SERVICE

      I, Colin S. Haviland, Assistant General Counsel, hereby served a true and

correct copy of Defendant, the School District of Philadelphia’s Motion to Dismiss

Plaintiff’s Second Amended Complaint, via ECF, on the following:




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